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            I     Grg Brower Esq.
                  Ne’ada Bar No 5232
            2     Cffiig S. Denney, Esq.
                  Nevada BarNo. 6953
            3     Jusin R. Coran, Esq.
                  Ne’adaBarNo. 11939
            4     SNELL & WILMER Li..P.
                  383 Howard Hughes Parkway, Suite 1100
            S     La Vegas, NV 89169
                  Tetephonc (702) 784-5200
            6     Fa4slznile (702) 7845252
                  Enai1:        er(swIaw.cm
            7             cdeiiney(sw1aw. corn
                          jcochran(swlawrn
            8
                  Ti+ Johnson. Esq.
            9     (P,ro Hac Vice Forthcoming)
                  NihoIas P. DIckerson, Esq.
           10     (Po Flac Vice Forthcoming)
                  Locke Lord L.L,P
           11                1 Suite 2800
                  600 Travis St.
                  Hcuston, TX 77002
            12    Teephone:(7l3)226-l1l4
                  Fapsixniie: (713) 229-2606
            13    Eziai1: tjcthnsonUocke1ordo
                    I     ndickerson(1ocke1ord.com
            14
                  Atçorneysfor Defendant
                  Jañies I, “Assi” Jariv
)
            16                                   UNITED STATES DISTRICT COURT
            17                                           DISTRICT OF NEVADA
            18     U4ITED STATES OF AMERICA
                                                                          CASE NO. 2l4-CR-006-APG-OWF
            19                            Plaintiff,

            20     v.                                                     SUBSTiTUTION OF ATTORNEYS
                                                                          AND DESIGNATION OF
            21     JAMES I. “ASSI” JARIV, et aL,                          RETAINED COUNSEL

            22                            Defendant,

            23           Defendant JAMES I ‘ASSI” SARI V, hereby substitutes and appoints Greg Brower, Esq,,
            24     Caig S. Denney, Esq. and Justin R. Cochran, Esq. of’SNELL & WILMER L,L.p, to represent him
                                                                                                                      law
            25     a local counsel in the above-entitled matter in place nd stead of Luis 3. Rojs, Esq. of the
            26     fimofSTE1NRO3AS
            27     -L
                                                                                                       Lord LLP, reside in
                   ‘:Cose1 for Mr. Thriv, Tim Jhnsn and Ncho1as P. Dickerson of the firm Locke   Rule IA l02 by the end of
                                                                   and payment pursuant to Local
            28     llexas arid will submit theirpro hac vice forms
                   this week,
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             I              All future correspondence, notices, and pleadings are to be directed to Greg Brower, Esq.,
            2     Cr4ig S. Deimey, Esq. and Jv.atin R. Cochran, Eaq. of SNELL & WILMER LLP., 3883 Howard
            3     HuJies Pkwy, Suite 1100 Las Vegas, Nevada; Telephone (702) 784-5200, Facsimile (702) 784-
            4     522.
             5    Dated: January          ,2O14.                                    47

            7’


             9              I consent to the above substitution,
           10     Dated: Januaryt, 2014.
            ii                                                           STEIN&ROJAS

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         1            Greg Brower, Esq., Craig S. Deimey, Esq, and Justin R. Cochran, Esq. of SNELL &
         2     WIMER L,I.P, hereby accept substitution as local counsel for JAMES I. “ASSI” JARIV, for all
         3     puiposes in the above-entitled action, in place and stead of Luis S. Rojas, Esq. of the law ±irm of
         4     STETN RO3AS
         5     Dated January 28
                             th,
                                 2014                  SNELL & ‘WIL.MER LLP.


                                                       By:__
                                                        Greg Brower, Esq.
         8                                              NevadaBarNo. 5232
                                                        Craig S. Dcnney, Esq.
         9                                              Nevada Bar No 6953
                                                        Justin R. Cochran Es
        10                                              Nevada Bar No. 1193
                                                        3883 Howard Hughes Parkway, Suite 1100
        ii                                              Las Vegas,NV 8916
                                                        Tele?hone: (702) 784-5200
        12                                              Facsimile: (702) 784-5252
        13                                                  Tizn3ohnson,E.sq.
                                                            (Pro Hac Vice Forthcoming)
        14                                                  Nicho1asP,Dic1cersonEsq.
                                                            (Pro Hac Vice Forthcoming)
        15                                                  Locke Lord IL.P,
                                                            600 Travis St., Suite 2800
        lv                                                  Houston, TX 77002
                                                            Telephone: (713) 226-1114
        17                                                  Facsmile: (713) 229-2606
        18                                                  Auorneys for Defendaiu
                                                            James I, “Assi” Jariv
        19
        20
        21
                                                             IT IS SO ORDERED:
        22
        23
                                                             __________________________
        24                                                   GEORGE FOLEY, JR.
        25                                                   United States Magistrate Judge
        26
                                                                    February 19,
                                                             DATED: February 29, 2014
                                                                                 2014
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                                                             CERTIFICATE OF SERVICE

                  2               I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen (1 8

                  3     years, and I am not a party to, nor interested in, this action. On this date, I caused to be served
              4         true and correct copy of the foregoing SUBSTITUTION OF ATTORNEYS AND

              5         DESIGNATION OF RETAINED COUNSEL by the method indicated:

              6         XXXX             CM/ECF

              7                          U. S. Mail
              8                          Facsimile Transmission
              9                          Federal Express Overnight
             10                          Hand Delivery
             11        and addressed to the following:
         C


             12        Wayne D. Hettenbach, Esq.
                       Crane M. Pomerantz, Esq.
             13        Lloyd D. George United States Courthouse
                       333 Las Vegas Blvd. South, Suite 5000
             14        LasVegas,Nevada89lOl
.d   -



cQ
=            15        Attorney for Plaintiff

                                  DATED February         ,   2014
             17                                                                  \   _) _>- J          —       —


             18                                                                An Employee of Snell & Wilmer LIP.

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